       Case 2:17-cr-00317-RFB-VCF             Document 59        Filed 05/15/18      Page 1 of 5


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     jim@oronozlawyers.com
5    Attorney for Michael Bower

6
                                   UNITED STATES DISTRICT COURT
7
                                        DISTRICT OF NEVADA
8

9
      UNITED STATES OF AMERICA,                             CASE NO.:       2:17-cr-317-RFB-VCF-2
10
                      Plaintiff,
11                                                          STIPULATION TO CONTINUE
      vs.                                                   SENTENCING
12
      MICHAEL BOWER,                                        (FIRST REQUEST)
13
                       Defendant.
14

15          IT IS HEREBY STIPULATED AND AGREED, by Defendant Michael Bower, by

16   and through his attorney, James A. Oronoz, Esq., and the United States of America, by and

17   through Richard Anthony Lopez, Assistant United States Attorney, that the sentencing

18   hearing currently scheduled for May 17, 2018, at the hour of 2:00 p.m., be vacated and

19   continued for a period of not less than thirty (30) days, to a date and time that is convenient to

20   this Honorable Court.

21          The request for a continuance is based upon the following:
22
        1. Defense Counsel requires additional time to prepare for sentencing. There are a number
23         of outstanding tasks that Counsel must complete before proceeding to sentencing.

24      2. Defense Counsel has spoken to Assistant United States Attorney Richard Anthony
           Lopez, and the Government has no objection to the continuance.
25

26      3. Defense Counsel has spoken to Mr. Bower, who is not in custody, and he has no
           objection to the continuance.
27

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                                                   Page 1
       Case 2:17-cr-00317-RFB-VCF            Document 59        Filed 05/15/18      Page 2 of 5


        4. The additional time requested by this Stipulation to Continue Sentencing is reasonable
1          pursuant to Fed.R.Crim.P. Rule 32(b)(2), which states that the “court may, for good
2          cause, change any time limits prescribed in this rule.”

3       5. The additional time requested herein is not sought for the purposes of undue delay.

4       6. This is the first stipulation to continue the sentencing hearing filed herein.
5       7. Additionally, denial of this request for a continuance could result in a miscarriage of
6          justice.

7    DATED: May 14, 2018

8    Respectfully submitted,
9
     /s/ James A. Oronoz        .                  /s/ Richard Anthony Lopez
10   James A. Oronoz, Esq.                         Richard Anthony Lopez
     Oronoz & Ericsson, LLC                        Assistant United States Attorney
11   1050 Indigo Dr., Suite 120                    District of Nevada
     Las Vegas, Nevada 89145                       501 Las Vegas Blvd. South, Suite 1100
12   Attorney for Defendant Bower                  Las Vegas, Nevada, 89101
                                                   Attorney for the United States of America
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       Case 2:17-cr-00317-RFB-VCF            Document 59        Filed 05/15/18       Page 3 of 5


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5    Attorney for Michael Bower

6
                                  UNITED STATES DISTRICT COURT
7
                                       DISTRICT OF NEVADA
8

9
      UNITED STATES OF AMERICA,                            CASE NO.:       2:17- cr-317-RFB-VCF-2
10
                     Plaintiff,
11                                                         FINDINGS OF FACT, CONCLUSIONS
      vs.                                                  OF LAW, AND ORDER
12
      MICHAEL BOWER,
13
                      Defendant.
14

15                                       FINDINGS OF FACT
16
             Based on the pending Stipulation of counsel, and good cause appearing therefore, the
17   Court finds:
18      1. Defense Counsel requires additional time to prepare for sentencing. There are a number
           of outstanding tasks that Counsel must complete before proceeding to sentencing.
19

20      2. Defense Counsel has spoken to Assistant United States Attorney Richard Anthony
           Lopez, and the Government has no objection to the continuance.
21
        3. Defense Counsel has spoken to Mr. Bower, who is not in custody, and he has no
22         objection to the continuance.
23
        4. The additional time requested by this Stipulation to Continue Sentencing is reasonable
24         pursuant to Fed.R.Crim.P. Rule 32(b)(2), which states that the “court may, for good
           cause, change any time limits prescribed in this rule.”
25
        5. The additional time requested herein is not sought for the purposes of undue delay.
26
        6. This is the first stipulation to continue the sentencing hearing filed herein.
27

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                                                  Page 3
       Case 2:17-cr-00317-RFB-VCF             Document 59       Filed 05/15/18      Page 4 of 5


        7. Additionally, denial of this request for a continuance could result in a miscarriage of
1          justice.
2

3                                      CONCLUSIONS OF LAW

4           The ends of justice served by granting said continuance outweigh the best interests of
5    the public in proceeding with the sentencing hearing as scheduled, since the failure to grant
6
     said continuance would be likely to result in a miscarriage of justice at the sentencing hearing,
7
     taking into account the exercise of due diligence.
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       Case 2:17-cr-00317-RFB-VCF         Document 59      Filed 05/15/18    Page 5 of 5


                                            ORDER
1

2          IT IS THEREFORE ORDERED that the Sentencing date in this matter scheduled for

3    May 17, 2018, be vacated and continued to the ____            June
                                                   21st day of _____________________, 2018, at

4                 3:45 PM
     the hour of _________________.
5                              15th day of _________________________,
           DATED AND DONE this _____        May                       2018.
6

7
                                                         ________________________________
8                                                        RICHARD F. BOULWARE, II
                                                         UNITED STATES DISTRICT JUDGE
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